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               Exhibit 4
September 18, 2020 Email from Marty
 Tripp to Jeanine Zalduendo, Michael
   Lifrak, RKay and Aubrey Jones




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Jeanine Zalduendo

From:                            MT <mtprotons@protonmail.com>
Sent:                            Friday, September 18, 2020 4:53 AM
To:                              Jeanine Zalduendo; Michael Lifrak; rkay@mcdonaldcarano.com; Aubrey Jones
Subject:                         Summary Judgements


                                                   [EXTERNAL EMAIL]


I congratulate you all on doing a better presentation than my previous legal counsel.

Listen, I'm most likely not getting any new counsel, and will remain 'pro se'.

I look forward to the trial, because as has been said before, "little birds sing".

An update on my 'personal devices', as it has come out in the summary judgements: I no longer own any of the
devices that I had owned through my employment at tesla. Two devices were accidentally destroyed, and the
others sold after Apple was subpoenaed, and it was later determined that my devices were being hacked and
monitored.

An update on my finances: still no employment, and will remain that way, more than likely, for the foreseeable
future. ALL of my beehives and any personal items have been sold to Friends of Family. The gofundme,
which was set up specifically for the $25,000 sanction amount, has acquired a total of $118 in donations thus
far. Bear in mind, gofundme deducts a 2.9% fee as well as a .30 per donation transaction, when figuring into
your calculations. I'll continue to update you monthly if you so wish.

So it goes, be well.

-Marty

Sent with ProtonMail Secure Email.




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